Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18   PageID.1203   Page 1 of 8




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHAEL WELCH,
            Plaintiff,                   CASE NO.: 18-cv-11450
                                         HON. LAURIE J. MICHELSON
v.                                       MAG. MONA K. MAJZOUB

CITY OF MELVINDALE, a political subdivision
of the State; MELVINDALE PUBLIC SAFETY
COMMISSION, a political advisory body of the
City of Melvindale; JEFFERY [c/k/a JEFFREY] BOLTON,
KEVIN MCISAAC, MARTHA MCDANIEL,
PATRICIA HALL and
LAWRENCE COOGAN, individuals, sued in
their official and personal capacities,
            Defendants.

DEBORAH L. GORDON (P27058)                 AUDREY J. FORBUSH (P41744)
ELIZABETH MARZOTTO TAYLOR (P82061)         PLUNKETT COONEY
DEBORAH GORDON LAW                         Attorney for Defendants, City of
Attorneys for Plaintiff                    Melvindale, Melvindale Public Safety
33 Bloomfield Hills Pkwy. – Suite 220      Comm., Bolton, McIsaac, McDaniel,
Bloomfield Hills, MI 48304                 Hall
(248) 258-2500                             Plaza One Financial Center
dgordon@deborahgordonlaw.com               111 E. Court Street – Suite 1B
emarzottotaylor@deborahgordonlaw.com       Flint, MI 48502
                                           (810) 342-7014
CARLITO H. YOUNG (P61863)                  aforbush@plunkettcooney.com
LAURA BAILEY BROWN (P79742)
JOHNSON, ROSATI, SCHULTZ &
JOPPICH, P.C.
Attorneys for Defendant Coogan
27555 Executive Drive – Suite 250
Farmington Hills, MI 48331
(248) 489-4100
cyoung@jrsjlaw.com
lbrown@jrsjlaw.com
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18           PageID.1204   Page 2 of 8




        STIPULATED CONFIDENTIALITY PROTECTIVE ORDER

      WHEREAS, parties and non-parties to this action (“Litigation”) have been

or may be requested in the course of discovery or other proceedings to produce or

disclose testimony, documents, or other information (“Discovery Material”) that

they consider private, confidential, and/or proprietary; and

      WHEREAS, Plaintiff Michael Welch (“Plaintiff”) and Defendants City of

Melvindale, Melvindale Public Safety Commission, Jeffrey Bolton, Kevin

McIsaac, Martha McDaniel, Patricia Hall, and Lawrence Coogan (“Defendants”)

have agreed, through their undersigned attorneys, to set forth procedures for, and

rules governing, the use of such Discovery Material;

      1.     All confidential Discovery Material in the Litigation shall be used

solely for purposes of the Litigation and for no other purpose. If, in the course of

discovery or other proceedings in this Litigation, Defendant or Plaintiff, any party

to the Litigation, or any third-party discloses Discovery Material they deem

confidential, or proprietary, the producing party may designate such Discovery

Material as “Confidential.” A disclosing party may designate information produced

in discovery as Confidential Material only if the disclosing party determines, in

good faith, that such material constitutes: (a) trade secrets; (b) information of a

proprietary nature; (c) Plaintiff’s or Defendants’ financial or tax information; (d)

medical records related to Plaintiff; and/or, (e) any other information in which any


                                          2
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18         PageID.1205    Page 3 of 8




party or any third-party has a reasonable expectation of privacy (such as social

security information, health information, etc.).

      2.     Documents are to be designated as “Confidential” by stamping each

page of the document with the corresponding legend; however, the failure to stamp

covered pages or documents “Confidential” in no way alters or waives the

protected and confidential nature of the Confidential Material or documents and

does not remove them from the protection of this Order. If the Discovery Material

is marked, the parties will ensure that the marking shall not cover or block the

substance of the Discovery Material in any way. Deposition testimony may be

designated “Confidential” by so indicating orally on the record during the

deposition. The designated pages of the transcript of any such deposition shall be

marked by the court reporter with the appropriate legend.

      3.     In the event that a document is produced without the designation

“Confidential” and it is later determined, in good faith, that such a designation

should have appeared on the document, the designating party may restrict future

disclosure of the document, consistent with this Protective Order, by notifying the

receiving party in writing of the change in, or addition of, a restrictive designation.

The notice shall include a description of the document and the designation under

which future disclosure of the document is to be governed.




                                          3
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18         PageID.1206    Page 4 of 8




      4.     Any person in possession of Confidential Material shall maintain it in

a reasonable and appropriate manner so as to avoid disclosure of its contents in any

manner not permitted by this Order.

      5.     Confidential Material shall not be disclosed, except as provided in

paragraph 6, except upon prior written consent of the designating party.

      6.     Discovery Material that is designated “Confidential” may be disclosed

only to the extent reasonably necessary for the conduct of the Litigation and only

to the following:

             (a)    the Court (including any appellate court) and Court personnel;
             (b)    court reporters in connection with the taking of a deposition or
                    the transcription of court proceedings;
             (c)    attorneys (including in-house and outside counsel) of the parties
                    to the Litigation (or the corporate parent of a party to the
                    Litigation) and such attorneys' employees;
             (d)    parties to the Litigation and their officers, directors, trustees,
                    and employees;
             (e)    the creator and addressees of such Confidential Material and
                    persons who received a copy thereof prior to its production in
                    the Litigation;
             (f)    anticipated and actual fact witnesses other than the parties to the
                    Litigation, provided that counsel has a good-faith basis to
                    disclose such information to such witness;
             (g)    experts, advisors, consultants, and other persons engaged to
                    assist in the Litigation;
             (h)    mediators, facilitators, arbitrators or other third-party neutrals
                    that are engaged by the parties to the Litigation to participate in
                    a resolution of the Litigation; and
             (i)    any other person, designated in a written agreement of counsel
                    for the parties or by Order of this Court, after notice to both
                    parties.



                                          4
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18        PageID.1207    Page 5 of 8




      All persons to whom Confidential Material is disclosed in accordance with

the terms of this Order shall be advised by counsel of the terms of this Order.

      7.       In the event that counsel for any signatory to this Order at any time

believes that Confidential Material should cease to be so designated, such counsel

shall so notify counsel for the designating party. Counsel for the challenging and

designating parties shall confer in good faith. If agreement is not reached, the

parties will follow the Court’s procedures for the resolution of discovery

disputes. The parties acknowledge and agree that the burden for demonstrating

whether material is properly designated as Confidential is on the designating party.

      8.       Compliance with the terms of the Order shall not be deemed an

admission that any Discovery Material is not otherwise protected from disclosure

or admissible in evidence and shall not constitute a waiver of the right of any

person to object to the production of any Discovery Material for any reason

whatsoever and shall not prevent any party requesting that particularly sensitive

documents be subject to more stringent restrictions prior to being produced to the

other party.

      9.       This Order shall have no effect upon a designating party's use of its

own Confidential Material.

      10.      The inadvertent failure to designate Discovery Material as

Confidential shall be corrected by supplemental written notice to the receiving


                                          5
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18           PageID.1208   Page 6 of 8




party as soon as practicable to prevent further use or disclosure of Confidential

Material contained therein by such persons.

      11.    Nothing in this Order shall prevent the parties from filing a motion for

modification of this Protective Order, either by stipulation, or with good cause

shown, or from using the Court’s procedures to determine whether the other party

has inappropriately designated information or documents as “Confidential.” This

Court retains continuing jurisdiction to enforce this Order.

      12.    Nothing in this Order shall be deemed in any way to restrict the use of

Discovery Material that is publicly available or has been or could be legally

obtained independent of formal discovery in the Litigation, whether or not the

same material has also been obtained through formal discovery in the Litigation.

      13.    The parties acknowledge and agree that if documents or information

produced in discovery are subject to a claim of privilege or of protection as trial-

preparation material, the party making the claim may notify any party that received

the information of the claim and the basis for it. After being notified, a party must

promptly return, sequester, or destroy the specified information and any copies it

has; must not use or disclose the information until the claim is resolved; must take

reasonable steps to retrieve the information if the party disclosed it before being

notified; and may promptly present the information to the court under seal for a

determination of the claim. The producing party must preserve the information


                                          6
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18          PageID.1209   Page 7 of 8




until the claim is resolved.     The parties further acknowledge and agree that

production of privileged or work-product protected documents, electronically

stored information, or other information, whether inadvertent or otherwise, is not a

waiver of the privilege or protection from discovery in this case or in any other

federal or state proceeding. This Stipulated Confidentiality Protective Order shall

be interpreted to provide the maximum protection allowed by Federal Rule of

Evidence 502(d).

      14.    This Order does not, in itself, authorize the filing of any documents

under seal. Documents may be filed under seal only if authorized by statute, rule,

or order of the Court. A party seeking to file under seal any paper or other matter

shall abide by the applicable Federal Rules of Civil Procedure, local rules, standing

orders, and any other orders entered in this matter with regard to the filing of

materials under seal.

      15.    To the extent that there is any conflict between the terms of this Order

and rules of the Court, the rules of the Court will govern.

      16.    Upon request of the designating party, and following the termination

of this action and any related proceedings and appeals, any person in possession of

Confidential Material shall, upon request, either: (1) make such material available

for pickup by counsel for the designating party; or (2) certify to counsel for the

designating party that all such material and copies, summaries, and extracts thereof


                                          7
Case 2:18-cv-11450-LJM-MKM ECF No. 34 filed 10/23/18       PageID.1210    Page 8 of 8




have been destroyed, provided, however, that the signatories to this Order and their

counsel may retain copies of attorney work-product and briefs, pleadings, and

other papers filed with or sent to the Court that incorporate, append, or refer to

such material, with such papers remaining subject to the terms and conditions of

this Order.

      17.     The terms of this Order shall be effective and the parties and their

counsel shall be bound by the terms of this Order on the date the Order is signed by

the parties' counsel.

      18.     Prior to the time this Order is entered by the Court, Confidential

Material shall be subject to the terms of this Order to the same extent as though the

Order has been entered by the Court.

IT IS SO ORDERED.

Date: October 23, 2018                 s/Laurie J. Michelson
                                       United States District Judge
APPROVED AS TO FORM AND CONTENT:

By: /s/ Elizabeth Morzotto Taylor            By: /s/Audrey J. Forbush
    DEBORAH L. GORDON (P27058)                    AUDREY J. FORBUSH (P41744)
    ELIZABETH MORZOTTO TAYLOR                     Attorney for Defendants - City of
    (P82061)                                      Melvindale, Melvindale Public
    Attorneys for Plaintiff                       Safety Commission, Bolton,
                                                  McIsaac, McDaniel, & Hall
By: /s/ Laura B. Brown
    CARLITO H. YOUNG (P61863)
     LAURA B. BROWN (P79742)
     Attorneys for Defendant Coogan
	


                                         8
